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IN THE UNITED STATES DISTRICT CoURT _R
FoR THE WESTERN DISTRICT oF TENNESSEE 95 It;z`i‘ l !
WESTERN DIVISION

CHARLES CURTIS JONES and
ALETA .IONES,

Plaintiffs,
NO.: 02-2128-An

VS.

A.C. GILLESS, JR., Sheriff and
SHELBY COUNTY GOVERNMENT,

Defendants.

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ORI)ER GRANTING MOTION TO REVISE THE CURRENT SCHEDULING ORDER
AND TO CONTINUE TRIAL SETTING

 

Befoi‘e the Court is the Joint Motion to Revise the Current Scheduling Order and to
Continue Trial Setting. For good cause Showri, the motion is GRANTED. The Scheduling
Order shall ’oe modified to reflect the following deadlines:

Plaintiffs’ Expert Disclosure: Octol:)er 28, 2005

Defendants’ Expert Disclosure: November 20, 2005

Supplementation under Rule 26(e): December 9, 2005

Complete All Discovery: Deeember 30, 2005

Dispositive Motion Deadline: January 30, 2006

This trial is expected to last 2-3 days and is SET FOR JURY 'I`RIAL at 10:00 a.m. on

MONDAY, APRIL 17, 2006. A joint pretrial order Shall be submitted no later than 4:30 p.m.

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with Hula 58 and/or 79 (a) FRCP on l nce {€3

ared on the docket

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on TUESDAY, APRIL 11, 2006. The proposed m pretrial order should include any
stipulated facts, contested issues of fact and!or law, list of witnesses and exhibits and should be
signed by the attorneys for all the parties.

If a jury trial has been requested, the parties should submit proposed jury instructions to
the Court by TUESDAY, APRIL 11, 2006. Failure to present the proposed jury instructions
may be deemed a waiver with regard to presentation at a later date. If the action is to be tried by
the Judge, the parties will be required to submit proposed findings of fact and conclusions of law

in place of the proposed jury instructions

IT IS SO ORDERED.

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<Z§ /AJM/ar @v_j
s. THoMAs ANDERSON
UNrrED sTATEs MAGISTRATE JUDGE

Date: 277/4? /@IJ ZOOJ/

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 2:02-CV-02128 was distributed by faX, mail, or direct printing on
May 17, 2005 to the parties listed

 

 

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Honorable S. Anderson
US DISTRICT COURT

